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            EXHIBIT 1
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                                District of Columbia

                      Ruby Freeman et al.                                      )
                               Plaintiff                                       )
                                  V.                                           )      Civil Action No.     1 :21-cv-3354
                      Rudolph W. Giuliani                                      )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                        Jenna Ellis

                                                       (Name ofperson to whom this subpoena is directed)

       tf
        Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters:


 I Place: Remote (via Zoom)                                                           I Date and Time:



            The deposition will be recorded by this method: _S_t_e_no_g_r_a_p_h_ic_a_n_d_V_id_e_o_ _ _ _ _ _ _ _ _ _ _ _ __

       tf Production:     You, or your representatives, must also bring with you to the deposition the following documents,
            electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
            material: See Schedule A.




       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

 Date:
                                   CLERK OF COURT
                                                                                          OR
                                                                                                            /s/ Meryl C. Governski
                                           Signature of Clerk or Deputy Clerk                                  Attorney 's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                         Ruby Freeman et al

---------------------------
                                                                                               , who issues or requests this subpoena, are:
Mery IC. Governski, Willkie Farr & Gallagher LLP , 1875 K Street, N.W., Washington , D.C., 20006; mgovernski@willkie.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:21-cv-3354

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are$                                       for travel and $                      for services, for a total of$    0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server 's signature



                                                                                          Printed name and title




                                                                                             Server 's address


Additional information regarding attempted service, etc.:
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert's opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
   (A) within 100 miles of where the person resides , is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides , is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party' s officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents , electronically stored information, or             (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides , is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Prntecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney ' s fees-on a party or attorney who             (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b )(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents , communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party' s officer from       (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who , having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

        This subpoena for documents, including each individual Request for Documents

(collectively, the "Requests"), shall be read and interpreted in accordance with the definitions and

instructions set forth below.

                                    GENERAL DEFINITIONS

       Plaintiffs incorporate by reference all the instructions, definitions, and rules contained in

the Federal Rules of Civil Procedure ("FRCP") and for purposes of this Subpoena, the following

definitions shall apply:

        1.     Unless words or terms have been given a specific definition herein, each word or

term used herein shall be given its usual and customary dictionary definition.

      2.      The terms defined herein should be construed broadly to the fullest extent of their

meaning in a good faith effort to comply with the FRCP.

       3.      "And" and "or" shall be construed either disjunctively or conjunctively as necessary

to bring within the scope of the Requests all information that might otherwise be construed to be

outside of their scope.

       4.       "You," "Your," or "Yours" refers to Jenna Ellis and includes any persons or entities

acting for Jenna Ellis or on Jenna Ellis' s behalf, including but not limited to all representatives,

servants, agents, employees, officers, affiliates, subsidiaries, parent companies, third parties, as well

as any entities over which Jenna Ellis has control.

        5.       "Communication" means, in addition to its customary and usual meaning, every

contact of any nature, whether documentary, electronic, written or oral, formal or informal, at any

time or place and under any circumstances whatsoever whereby information of any nature is

transmitted or transferred by any means, including, but not limited to letters, memoranda, reports,

emails, text messages, instant messages, social media, telegrams, invoices, telephone

conversations, voicemail messages, audio recordings, face-to-face meetings and conversations, or
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any other form of communication, and any Document relating to such contact, including but not

limited to correspondence, memoranda, notes or logs of telephone conversations, e-mail, electronic

chats, text messages on any platform, instant messages, direct or private messages, correspondence

in "meet ups" or chat rooms, and all other correspondence on Social Media. Without limiting the

foregoing in any manner, commenting as well as any act of expression that is not directed at a

specific person, or otherwise may not be intended to provoke a response (such as a social media

posting, "likes," "shares," or any other form of reacting to another's use of Social Media), are

forms of communication.

        6.        "Document" or "Documents" means documents broadly defined in Rule 34 of the

FRCP and includes (i) papers of all kinds, including, but not limited to, originals and copies,

however made, of letters, memoranda, hand-written notes, notebooks, work-pads, messages,

agreements, rough drafts, drawings, sketches, pictures, posters, pamphlets, publications, news

articles, advertisements, sales literature, brochures, announcements, bills, receipts, bank checks,

credit card statements, and (ii) non-paper information of all kinds, including but not limited to, any

computer generated or electronic data such as digital videos, digital photographs, audio recordings,

podcasts, Internet files (including "bookmarks" and browser history), word documents, note taken

electronically, online articles and publications, website content, electronic mail ( e-mail), electronic

chats, instant messages, text messages, uploads, posts, status updates, comments, "likes", "shares",

direct messages, all Social Media activity, or any other use of ephemeral communications services

or Social Media, and (iii) any other writings, records, or tangible objects produced or reproduced

mechanically, electrically, electronically, photographically, or chemically. Without limiting the

foregoing in any way, every Communication is also a Document.

        7.        "Relating to" means "concerning," "referring to," "describing," "evidencing," or

"constituting."

        8.        "Social Media" means any forum, website, application, or other platform on which

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persons can create, transmit, share, communicate, or comment upon any information, ideas, or

opinions, or otherwise engage in social networking, including but not limited to: Twitter, Rumble,

Gab, Me We, Periscope, Facebook, Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan,

Schan, Tumblr, Youtube, Linkedln, Flikr, Reddit, Quora, Disquis, Slack, Whisper, Yik Yak,

Medium, WordPress, WeChat, and instant messaging services such as Signal, WhatsApp,

Facebook Messenger, Hangouts, Skype, Line, KakaoTalk, Telegram, CyberDust.                Without

limiting the foregoing in any manner, and by way of example only, the following are Social Media

activity: uploading, posting, commenting, reacting (e.g., "liking" a post), sharing, and

communicating on comment sections of Social Media.

                                   SPECIFIC DEFINITIONS

       1.      "Defendant Giuliani" refers to Rudolph W. "Rudy" Giuliani, the defendant in the

above-captioned action.

       2.       "Georgia" means the State of Georgia in the United States of America

       3.      "Giuliani Legal Team" means individuals who assisted in Defendant Giuliani's post-

election efforts including but not limited to Christina Bobb, Bernard Kerik, Katherine Friess, Phil

Waldron, Jacki Pick, Burt Jones, or Maria Ryan.

       4.      "Giuliani Strategic Communications Plan" refers to the document produced in the

course of the January 6 Committee's investigation bearing the title "Strategic Communications Plan

Giuliani Presidential Legal Defense Team" and which is located at this link (https: //perma.cc/VP2S-

CJMR) and attached hereto as Exhibit 1.

       5.      "Plaintiffs" means Ruby Freeman and Wandrea ArShaye ("Shaye") Moss, the

plaintiffs in the above-captioned matter.

       6.      "2020 Presidential Election" means the election held on November 3, 2020, to

determine the President of the United States of America, and of which President Joseph R. Biden

Jr. was certified the winner by the House of Representatives on January 6, 2021.

                                               -3-
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7739400 .6
                                          INSTRUCTIONS

             A     Your responses to the following Requests shall be based on all knowledge and

 information (whether or not hearsay or admissible) in Your possession, custody, or control.

             B.    Produce all responsive documents in Your possession, custody, or control,

 regardless of whether such documents are possessed directly by You or persons under Your

 control, including Your agents, employees, representatives, or attorneys, or their agents,

 employees, or representatives.

             C.    If no responsive documents exist for any particular requests, specifically state that

 no responsive documents exist.

             D.    If any responsive document was, but is no longer, in Your possession, custody, or

 control, state the whereabouts of such document when last in Your possession, custody or control,

 state the date and manner of its disposition, and identify its last known custodian.

             E.    Certify that Your production is complete and correct in accordance with

 specifications of the attached Certification that Response is Complete and Correct form provided

 as Exhibit 1.

             F.    All Documents shall be produced in electronic form and shall include related

 metadata. Produce in TIFF or native format (i.e., Word documents as .DOC or .DOCX files,

 Outlook emails as .PST files, Excel spreadsheets as .XLS or .XLSX files, Adobe PDF documents

 as .PDF files) . For all forms of electronically stored information, ensure that electronically stored

 information is provided in unencrypted form and free of password protection.

             G.    Any alteration of a responsive document, including any marginal notes, handwritten

 notes, underlining, date stamps, received stamps, endorsed or filed stamps, drafts, revisions,

 modifications, and other versions of a document, is a responsive document in its own right and must

 be produced.

             H     In instances where two or more exact duplicates of any document exist, the most

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legible copy shall be produced.

       1        In the event any Document or Communication is withheld on the basis of the

attorney-client privilege, work product doctrine, or any other right to non-disclosure on any other

basis, You shall produce a Privilege Log.

                             DOCUMENTS TO BE PRODUCED

DOCUMENT REQUEST NO. 1:

      All Documents and Communications relating to the Plaintiffs.

DOCUMENT REQUEST NO. 2:

      All Documents and Communications relating to the claims in the Giuliani Strategic

Communications Plan about Plaintiffs and/or Georgia including but not limited to all of the

statements under the "Georgia" heading in the section purporting to include "Voter Fraud Highlights

for the 2020 US Election."

DOCUMENT REQUEST NO. 3:

      All Documents and Communications relating to a record or list of election fraud allegations

concerning 2020 Presidential Election in Georgia, including but not limited to a summary document

of election fraud allegations in Georgia that was maintained and/or updated by the Giuliani Legal

Team, and versions of that document.

DOCUMENT REQUEST NO. 4:

      All Documents and Communications relating to claims that Plaintiffs were caught on video

passing a thumb drive(s), flash drive(s), or hard drive(s) between them on or around election day

in November 2020. This includes, but it not limited to any copies or links to such a video.




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                                           EXHIBIT 1

          CERTIFICATION THAT RESPONSE IS CORRECT AND COMPLETE



I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , certify as follows :

1.     The enclosed production of Documents and Communications were prepared and assembled

under my personal supervision;

2.      The Documents and Communications contained in this production to the Subpoena are

authentic, genuine and what they purport to be;

3.      Attached is a true and accurate record of all persons who prepared and assembled any

productions and responses to the Subpoena, all persons under whose personal supervision the

preparation and assembly of productions and responses to the Subpoena occurred, and all persons

able competently to testify: (a) that such productions and responses are complete and correct to the

best of such person's knowledge and belief; and (b) that any Documents produced are authentic,

genuine and what they purport to be; and

4.    Attached is a true and accurate statement of those requests under the Subpoena as to which no

responsive Documents were located in the course of the aforementioned search.



Signature: _ _ _ _ _ _ _ _ _ _ _ _ __                          Date: - - - - - - - - - -

Printed Name: - - - - - - - - - - - -

Address, e-mail and telephone number: - - - - - - - - - - - - - - - - - - - - -
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                    Exhibit 1
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            STRATEGIC COMMUNICATIONS PLAN
GIULIANI PRESIDENTIAL LEGAL DEFENSE TEAM
  We Have         10 Days To Execute This Plan & Certify President Trump!

GOAL: Nationwide communications outreach campaign to educate the public on the fraud
numbers, and inspire citizens to call upon legislators and Members of Congress to disregard the
fraudulent vote count and certify the duly-elected President Trump

TIMELINE: Dec 27 th - Jan 6th



FOCUS OF CAMPAIGN:

SWING STATE REPUBLICAN SENATORS -AZ, GA, Ml, NV, PA, WI

REPULBICAN MEMBERS OF THE HOUSE

REPUBLICAN MEMBERS OF THE SENATE



ISSUES:

MASSIVE CORRUPTION IN THE ELECTION PROCESS LED TO A VOTE TALLY THAT IS
FRAUDULENT

          Dead people voted
          Underage people voted
   -   Voters who voted numerous time
          Ineligible people voted
             o   Felons
             o   Illegals
             o   Those who were not Indefinitely Confined as defined by law (WI)
       Overvote - more people voted than were registered in their county- 400+% for
       example in one county
   -   Vote Counting Illegalities
             o   Affidavits re: witnessed piles of the same ballots being counted repeatedly
          Fraudulent Ballots
             o   Fulton County, GA, video of suitcases of fraudulent ballots
             o   Affidavits re: witnesses noting pristine ballots - wrong paper type; not folded
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   o   Affidavits re: witnesses seeing ballots being dropped at counting facilities from
       unauthorized vehicles
Mail-in Ballots Fraud
   o   No observation by Republican Officials to verify mail-in ballots' legitimacy
           •   Requirements not verified: Name, Address, Signature, Date
   o   Ballots counted that did not have a security envelope
   o   Ballots counted before they were requested
   o   Ballots counter before thew were available or requested
   o   Illegal Ballot Harvesting via the Zuckerberg Boxes and elsewhere
Dominion Machines Fraud
   o   Error rate outrageously beyond what is acceptable under FEC rules
   o   Rejection rate massively beyond standard levels
   o   Adjudication rate almost 100%
   o   Intentional Adjudication built into the software
           •   "Adjudication" allows the machine algorithm or an Administrator to
               determine the "intent" of the voter and vote the ballot accordingly
                  •     Adjudication has:
                            o   No oversight
                            o   No accountability
                            o   No record (in many cases)
                  •     Coffee County, GA, Clerk has a video to show how fraud can be
                        easily done through Adjudication
   o   Dominion machines are live on the internet - per their own User Manual
   o   Dominion machines are profoundly easy to hack
           •   VPN access
           •   No oversight over changes with USB drives
           •   Software is virtually open
   o   Proven Dominion fraud in Antrim County, Ml
           •   61% Error Rate
           •   82% Rejection Rate
           •   Non-existent records for Adjudication - only for 2020
           •   Non-existent records for software security- only for 2020
           •   Non-existent records for systems files - only for 2020
           •   Votes PROVEN to have been moved throughout Central Lake Townships
               when ballots were re-run with a different software stick- VOTES
               CHANGED from the top of the ballot to the bottom
                  •     No explanation given to the Clerk for re-running the ballots
                  •     Proposition for the sale of marijuana changed from a loss to a win
   o   Dominion CEO Poulos lied throughout his testimony before the Ml legislature in
       December 2020
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        o    Dominion has a reputation for stealing elections around the world
                 •   Dominion contains software from Venezuelan firm Smartmatic
                         •   Smartmatic was founded and financed by Hugo Chavez to control
                             voting out comes in Venezuela
                         •   We have affidavits of witnesses who met with Maduro family
                             members who said that this vote-theft technology is used to
                             control his elections as well
        o    Dominion is a foreign-controlled and foreign-owned company
        o   Smartmatic is a foreign-controlled and foreign-owned company
        o    Dominion has been decertified for use by the State of Texas
        o    Dominion machines have a "poison pill" in their software that automatically
            deletes the records within the voting machines
        o    Live-feeds of Dominion vote tallies show vote tallies in percentages
     Election Officials' Illegal Actions
        o    Ml Secretary of State called for all Clerks to delete electronic voting data in
            violation of state law
        o    No Chain of Custody for USB drives for voting machines
        o    No Chain of Custody for mail-in ballots
        o    No Chain of Custody for voting machines themselves
        o    Election Official Ruby Freeman is seen surreptitiously & illegally handing off
             hard-drives ON CAMERA in the Georgia counting facility
        o   Various Secretaries of State removed the public posting of results on their
            websites days after the election
        o   Various officials have called for the destruction of ballots and/or envelopes in
            violation of record retention laws
        o   Secretary of State in GA forced counties to certify their vote when they were not
            able to determine the true vote count and did not want to certify


WHAT WORKS TO PROVE THE ELECTION NUMBERS ARE RIGHT OR WRONG

     Doing a forensic examination of the machines' software will determine if there is fraud
     Doing an analysis of the scanned images of the ballots
        o   This can show:
                 •   Illegal type of paper
                 •   Illegal type of ink
                 •   Mail -in ballots that were not folded (thus, not mailed)
     Signature verification by Al
     Envelope verification by Al
     Ballot vote counting by Al
        o   Can provide a proper tally
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          o    Can detect if the ballot was filled in by a machine (illegal) vs. by hand
      Re-running ballots through the machines to see if the tallies match



WHAT DOES NOT WORK TO PROVE RIGHT OR WRONG VOTE COUNTS

      Hand recounts - they just recount fraudulent votes
      Signature verification by humans- very few can do this at a professional level
      Audits - they just take a percentage of total votes, and then recount the fraudulent
      votes
      Doing Nothing



MESSAGING :

      What do you elections officials have to hide?
      Why do you not want to have an investigation into a system that is known for vote
      fraud?
      How can you guarantee that no corruption of the vote took place?
      Why are American votes being counted by servers in foreign countries?
      Why are the voting machines not secure from hacking and manipulation by employees?
      Why is there no Chain of Custody record in place for mail-in ballots?
      How can you guarantee that corruption of the vote won't take place again?
          o    Especially important for the GA Senate run-off
      Legislators:
          o    What are you doing to prove no fraud happened?
          o    How can votes be calculated in percentages? This is a clear indication of fraud.
          o    Why do you not stand with the people of your state in demanding an
               investigation?
          o    How can you certify an election that has PROVEN fraud in your state?
          o    Why do you not stand up for America's founding principles?
          o    Why are you not exercising your plenary powers, derived from the Constitution,
               to utilize your authority to vote the electors in the way you know the people of
               your state voted?
          o    Why are you defending this corruption?
          o    Why are you hiding this corruption?
      Citizens:
          o    You must demand accountability from your state legislators
          o    You must demand they exercise their plenary power to reverse this fraud
          o    You must demand a thorough investigation of this corruption
          o    You must Take Back Your Country from Corruption and Corrupt Officials
      Members of Congress:
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             o   You simply CANNOT certify electors who are represent a fraudulent vote count
             o   You must vote the Will of the People
             o   You must take into consideration the vast number of proven fraudulent votes
                 and back those out of the reported totals
             o   You simple cannot let America be stolen by a sophisticated plot to manipulate
                 our vote totals by utilizing fraudulent and deceptive practices in our election
        EVERYONE:
             o   YOU CANNOT LET AMERICA ITSELF BE STOLEN BY CRIMINALS - YOU MUST
                 TAKE A STAND AND YOU MUST TAKE IT TODAY



MESSAGING TYPES

Daily Talking Points and Specific Fraud Numbers with Citations

Pre-written Tweets - multiple per day

Posts for lnstagram - multiple per day

Radio Ads -flood the local airways in AZ, GA, Ml, NV, PA, WI

Local TV Ads - flood the local airways in AZ, GA, Ml, NV, PA, WI

Other



CHANNELS TO DISSEMINATE MESSAGING

Presidential Tweets

Giuliani Team Tweets

Talk Radio

Conservative Bloggers

YouTube Influencers

Social Media Influencers

Local TV Stations'

        Targeting of local Legislators as most people watch their local news

Conservative Podcasts

Op/Eds in local papers - pre-written

OP/Eds for online publications
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Conservative SM Influencers (see supporting document below for list)

College Republicans

Young Republicans

Trump Campaign Volunteers

Lawyers for Trump Members

Others



CONTENT

Giuliani Team Voter fraud numbers (see supporting document below for details)

         Backed up by
            o   citations from Secretary of State's official numbers
            o   Live data feed records from election day
            o   Sworn affidavits from witnesses
            o   Videos of fraud
            o   Navarro Report on Dominion Voting Machines
            o   Navarro Report: Immaculate Deception
            o   Antrim County Report
            o   Tech Team analyses
            o   Fact Sheet on Dominion CEO lies during testimony



KEY TEAM MEMBERS

Rudy Giuliani- Strategic Communications Plan Run by BK and KF

Media Advisors - SB, BE

Serrano Public Relations Team

Research Team - CR and SP

Influencer Outreach -TF

Tech Team - PW

Peter Navarro Team

Local Legal Teams in AZ, GA, Ml, NV, PA, WI

Identified Legislative Leaders in each swing state
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Freedom Caucus Members



RALLIES AND PROTESTS

Organize Events in AZ, GA, Ml, NV, PA, WI

Targets:

       Support for hearings
       Support for President Trump
       Protests at Local Officials Homes/Offices
       Protests at Governor's Mansions
       Protests at Lt. Governor's home
       Protests at Secretary of State's home
       Protests at weak Members' homes
       Protests in DC - Rally for Key House and Senate Members
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SUPPORTING DOCUMENTS:

       VOTER FRAUD HIGHLIGHTS FOR 2020 US ELECTION

                    Presented by the Giuliani Team


ARIZONA

Margin: 10,000 votes

  •   12% of mail-in ballots were in need of adjudication
  •   Dominion said that the machines weren't connected to the internet, but we
      have an affidavit that says it was
  •   Illegals who voted - 36,400 estimated by pro-immigrant group (American
      Immigration Council estimates that 276,840 illegals are in AZ)
  •   Jury rolls, which would show illegals and felons, were pulled from public
      view within months of the election
  •   Uniform exclusion of Republicans from meaningful observation on mail-in
      ballots and adjudication
  •   22,903 mail-in ballots received the day before the ballot was sent out
  •   2000 voters registered to a vacant lot
  •   150,000 people registered in Maricopa County after the registration
      deadline
  •   103,000 ballots in Maricopa were sent for electronic adjudication - no
      Republican observation
  •   50,000 votes loaded on ahead of the opening of the polls
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GEORGIA

Margin: 10,000 votes

    •   Video of Ruby and Shay at midnight
           o That is the time of the 200,000 vote bump
                 • Similar interruptions at same time in other states
           o No Watermain Break - a lie to get the Republican observers and
              media to leave at 10:30pm
    •   We are looking at machines in the Republican districts as the President ran
        3-5% behind local legislators - and they do not believe that is possible
    •   Machines were connected at poll-pad and tabulator level, as we have
        testimony that the Denver help desk for Dominion worked on problems
        remotely
    •   Ware County demonstrated a 13%-point reduction from Trump with
        fractional votes and assigned to Biden for a 26% differential
    •   Coffee County Election Administrator shows how to manipulate cast
        ballots, change votes, and vote blank ballots as a function of the Dominion
        machine design and the electronic "Adjudication Process"
           o Coffee County could not replicate the ballot tallies after re-running
               them repeatedly, and thus did not certify their 15,000 votes
           o Gwinnett and Fulton County had a greater than 80% adjudication
               rate, where the administrator determines the voter "intent" with no
               oversight
                   • 1 out of 250,000 is standard for inaccuracy

•   2,560 felons with uncomplete sentences registered to vote and cast their
    vote; Geels 1 Para. 29
•   66,247 underage people registered to vote and illegally voted; Geels 1 Para. 24
•   2,423 unregistered people voted; Geels 1 Para. 12 (please note the number in
    the affidavits is about double what we cited in the petition. You'll need to ask
    Alex or Patrick Witt why that is).
•   4,926 registered voters who registered to vote in another state after their
    Georgia registration date voted; Braynard Para. 12, 19-20
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    •   395 people voted in Georgia and also voted in another state; Braynard Para.
        14, 23-24
    •   15,700 people voted in Georgia but changed their address before the
        election; Braynard Para. 12, 19-20
    •   40,279 people voted who failed to re-register to vote in their new county in
        time after moving from one county to another; Davis Para. 25
    •   1,043 people voted who illegally said         a post office box was their
        residence; Braynard Para. 12, 21-22
    •   98 people who registered too late to vote in the election; Geels 1 Para. 19
    •   10,315 people who had died by the time of the election; Geels 1 Para. 28

o   For absentee ballots:

    •   305,701 absentee ballots were applied for too early; Geels 1 Para. 13
    •   92 absentee ballots were cast and returned to the Secretary of State before the
        voter actually requested an absentee ballot; Geels 1 Para. 14
    •   13 absentee ballots were sent to people who weren't yet registered to
        vote; Geels 1 Para. 22
    •   2,664 absentee ballots were sent to voters too early; Geels 1 Para. 18
    •   50 absentee ballots were cast and returned to the Secretary of State before
        absentee ballots could even be sent to voters; Geels 1 Para. 17
    •   At least 2 absentee ballots were cast even though the voter's request for an
        absentee ballot was denied. Geels 1 Para. 21

o   The historical rejection rate of absentee ballots in Georgia:

    •   For the November 3 Presidential Election, 1,768,972 absentee ballots were
        mailed out by the Secretary of State. Geels 2 Para. 9
    •   Of those, 1,317,000 absentee ballots were returned (i.e., either accepted,
        spoiled, or rejected). Geels 2 Para. 9
    •   The number of absentee ballots returned in this election was 500% more than
        for the 2016 General Election, and 400% more than for the 2018 General
        Election. Geels 2 Para. 15
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•   Over a million more absentee ballots were returned than the 2016 and 2018
    General Elections. Geels 2 Para. 9
•   For the 2016 General Election, 6,059 absentee ballots were rejected, a 2.90%
    rejection rate. Geels 2 Para. 10
•   For the 2018 General Election, 7,889 absentee ballots were rejected, a 3.46%
    rejection rate. Geels 2 Para. 10
•   For this election, only 4,471 absentee ballots were rejected, a 0.34% rejection
    rate, despite a nearly sixfold increase in the number of ballots returned .. Geels
    2 Para. 12

                      § Had the statutory procedure for signature matching, voter
                        identity, and eligibility verification been followed for this
                        election, we should have seen between 38,250 to 45,626
                        absentee ballots rejected - far more that Mr. Biden's
                        margin of victory. Geels 2 Para. 16\

    •   No Chain of Custody- 600,000
    •   726,560 have moved mailing addresses with no change of address card -
        voted where
           o 275,050 have filed as moving out of the state but are still registered
              in GA
           o 17,000 are living outside of GA and voted in GA
    • 96,600 mail-in ballots with no return record were counted
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WISCONSIN

Margin: 20,000 votes

"Indefinitely Confined" Voters

   •   Total is 226,000 for 2020
   •   Usual is 20,000 previous - standardized list
   •   No early voting - absentee voting is intentionally difficult
   •   Indefinitely Confined has always been strictly administered, and was
       designed for nursing homes and home confinement
   •   Secretary of State tried to expand IC to include COVID
   •   WI Supreme Court ruled that COVID does not count as IC
   •   Secretary of State convinced 200,000+ to claim IC status anyway
   •   Court ruled again that this is illegal, and asked that those falsely claiming IC
       status be identified
   •   Our team has found 1,000s of IC-claiming individuals with active lifestyles
       on FaceBook
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MICHIGAN

Margin: 147,000 votes

  •   Wayne County originally rejected certifying their vote because 71% of their
      reporting precincts didn't balance - only certified after threatening &
      doxing the Republican Board of Electors Members who declined
      certification
         o This means that less than 30% of their votes were accurate
         o Even the UN would not accept this rate in a third world country
  •   Antrim County forensics report
         o shows a 68% error rate (FEC legal maximum error rate is 0.0008%)
         o 81% rejection rate
         o Adjudication and Security records missing - a violation of state
            retention laws requiring records to be maintained for 22 months
  •   Secretary of State Jocelyn Benson sent a Board of Electors directive on 1
      December to all Country Clerks telling them to delete all electronic records
      - in violation of state law records retention
  •   Republican Speaker Lee Chatfield called for a subpoena in Wayne County to
      examine the voting machines - with a due date of January 6th
  •   17,367 Dead Voters - first, middle, last, date, obit
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             OVERVOTE IN MICHIGAN BY TOWNSHIIP



            Precinct/Township               % Turnout
            City of North Muskegon           781.91%
            Zeeland Charter Township         460.51%
            Grout Township                   215.21%
            City of Muskegon                 205.07%
            City of Detroit                  139.29%
            Spring Lake Township             120.00%
            Greenwood Township               100.00%
            Hart Township                    100.00%
            Leavitt Township                 100.00%
            Newfield Township                100.00%
            Otto Township                    100.00%
            Pentwater Township               100.00%
            Shelby Township                  100.00%
            Shelby Township                  100.00%
            Weare Township                   100.00%
            City of Hart                     100.00%
            Grand Island Township              96.77%
            Tallmadge Charter
            Township                           95.24%
            Fenton                             93.33%
            Bohemia Twp                        90.63%
            Zeeland Charter Township           90.59%
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PENNSYLVANIA

Margin: 68,000 votes

  •   682,777 mail-in votes were counted without a single Republican viewing
      and verifying the ballots, names, signatures, addresses, dates
  •   Secretary of State election results removed from the internet
  •   Primary- 1.98m mail-in votes sent out, 2.4m mail-in votes counted
  •   Mail-in Ballots Retuned: 1,462,302
  •   Mail-in Ballots Not Returned: 360,846
  •   Mail Ballots Returned Before Mailed Date: 22,686
  •   Mail Ballots Returned on Same Day They Were Mailed: 32,591
  •   Mail Ballots Processed for Confirmed Dead: 8,021
  •   Mail Ballots Mailed Before They Were Requested: 4,894
  •   Mail Ballots Processed Before They Were Requested: 735




      TAKE-AWAYS :

  •   Give us access to the voting machines for forensics analyses to determine
      the accuracy of the vote, and the legitimacy of the ballots
         o Our review can determine valid paper, creases from folding for
            mailing, ink type, whether ballot was filled out by hand or machine
  •   Help educate Governors and Legislators as to the extent of the proven
      fraud
  •   Support citizens' protests coming in the next two weeks against state
      officials
  •   Support our duly-elected President - we WILL win this battle against fraud!
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SM CONSERVATIVE INFLUENCERS
Compiled by Christos Makridis and Soula Parassidis

Big names:
1. Candace Owens (YouTube 747k, lnstagram 3 million, Twitter 2.8 million)
2. Charlie Kirk (YouTube 356k, Twitter 1.9 million, lnstagram 1.5 million)
3. Hodge Twins (YouTube 1.69 million subs, lnstagram 2.3 million)
4. Officer Tatum (YouTube 1.43 million, lnstagram 748k, Twitter 611k)
5. Ben Shapiro (YouTube 2.5 million, lnstagram 2.5 million)
6. PragerU (YouTube 2.85 million, lnstagram 1.5 million)
7. Dave Rubin (YouTube 1.46 million, lnstagram 176k)
8. Daily Wire (YouTube 2.44 million, lnstagram 1 million)
9. Students for Trump - Ryan Fournier, (Twitter 1.1 million, lnstagram 318k)
10. The Majority Report (Sam Seder) (YouTube 993k, Twitter 168k)
11. Steven Crowder (YouTube 5 million, Twitter 1.3 million)
12. Mark Levin (Twitter 2.8 million)

Medium:
10. Eric Metaxas (YouTube 186k, Twitter 129k, lnstagram 16k)
11. Brandon Straka - "Walk Away" (YouTube 219k, Personal Twitter 665k, lnstagram 191k)
12. Michael Knowles (YouTube 370k, lnstagram 158k)
13. Ron (@codemonkeyZ) (475k Twitter)

Small:
13. Stop the Fraud (Rod) - (Twitter 135k)
14. Hey Jude (Twitter 148k)
15. AMErikaGIRL (Twitter 205k)
16. Bradley Scott (Twitter 281k)
17. Juanita Broaddrick (Twitter 484k)
18. Melissa Tate (Twitter 524k)
19. John Kiss my Bot (Twitter 199k)
20. Adam Corolla (YouTube 142k)
21. Trish Regan (YouTube 26.4K, Twitter 745.3K)

Micro:
22. Sara Eaglesfield (Twitter, 24k)
23. Cultural Husbandry (Twitter 30k)
24. Alison Morrow (YouTube 78K, Twitter 3.5K)

TIKTOK*** WE have to use TIKTOK!! Content goes VIRAL here like no other platform!!!!! And
there are MILLIONS of Trump supporters! It would be amazing if POTUS would use the platform
actually - he'd have the biggest account EVER
20. Conservative Ant (Vito) (574k followers)
21. Conservative Barbie (846k followers)
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22. Republican Hype House (1.5 million)
23. Dr. Sara Lorei {86k - fewer followers but she does an amazing Kamala Harris impression)
24. Matt Convard (young guy, very logical and articulate, 190k followers)
25. Adam Calhoun {949k) (musical artist, hilarious but swears a lot, rough persona but I think it
will connect with many people)
26. Bryson Gray (213k TIKTOK, 111k YT) - "Donald Trump is your President" - amazing song!!! All
his songs for Trump are incredible!
27. Emmanuel Harouno (279k) - he uses green screen a lot to simply react to facts that are put
out, very high engagement and super sympathetic.
28. The Republican Girls {367k)
29. Damani Bryant Felder (239k, very funny and extremely high engagement)
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TOP 10 WORST FRAUD INCIDENTS BY STATE
Prepared by JaNelle Cobb, TX Attorney, Lawyers for Trump, as of 12/19/20

ALL States with Dominion Voting Systems ("DVS"):

        Colonel Phil Waldron [state credentials] - Expert testimony and IT data for evidence of increased
        Internet traffic on (11/03/20) between US and Germany, Spain, Canada [need to confirm
        countries] and connectivity of Dominion Voting Systems to Internet.

        Dr. Shiva Ayyadurai [state credentials - MIT PhD (multiple degrees), inventor of email] - Expert
        testimony with mathematical analysis and graphs proving statistical certainty of algorithm used
        to automatically steal percentage of votes from Trump and given to Biden, emphasizing
        mathematical impossibility to have decimal point totals in a "one person, one vote" calculation .

        Stopped Count - All swing states stopped counting at approximately the same time on the night
        of Election Day (11/03/20), which correlates to time of "ballot stuffing" based on evidence and
        supports expert findings that preset algorithm in DVS machines were broken by underestimated
        large turnout of Trump voters.

AZ, GA and PA:

        Bobby Piton [state credentials (mathematician and chartered financial analyst)] - Expert
        testimony and mathematical calculations to confirm blatant voter fraud based on incontrovertible
        evidence in statistical analyses of official government records on voter data.

        According to Twitter post, as of 12/18/20, Piton has statistical findings for AZ, GA and PA. Needs
        contact of person to perform the same for Ml and WI).


                                         Top 10 Worst Fraud Incidents

ARIZONA

   1.   Dominion Voting Systems - Based on results of the forensic audit of DVS machines in Antrim
        County, Michigan, the AZ state legislature obtained a subpoena for ALL DVS machines in Maricopa
        County, AZ to be confiscated and forensically audited with results due on (12/18/20). Board of
        Supervisors refused to comply and is attempting to quash subpoena to prevent the results to be
        shown to We The People, who are entitled to the results as those in authority over the Board of
        Supervisors AND the state legislatures per the US Constitution.

        Please Note - AZ state legislature may be reminded of authority via Article 11, Section 2, Clause 2
        of US Constitution to decertify votes NOW, as Board of Supervisors' refusal to comply with
        subpoena and efforts to quash are evidence of guilt, essentially an admission (as will be true if
        WHEN the machines are audited information on the machines has been deleted) .

   2.   "Glitches" Reported - [See: https://www.breitbart.com/politics/2020/11/07 /rep-gosar-calls-on-
        az-offic ia Is-invest igate-t he-accuracy-of-the-do mini o n-ba 11 ot-softwa re-after-re ports-of-glitches/].

   3.   Bobby Piton -Analyzed official government records on voter data in AZ and found up to 300,000
        fake people voted in AZ. [See: https://welovetrump.com/2020/12/01/twitter-suspends-bobby-
        p ito n-wh i Ie-he-gave-h is-witness-re po rt-at-legi sla tu re-hea rings-in-a rizo na/1.
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4.   Poll Challenger Exclusion - On (11/04/20), morning after Election Day, GOP (and possibly
     Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
     counting location and corralled .

5.   "Sharpie Gate" - Voters told to use sharpies and not pens to ensure votes did not count.
     [See Video: https://www.youtube.com/watch?v=R-2YZgAzw2A&feature=youtu.be and Receipt:
     https://www.dropbox.com/s/d4x38y8oot7phsc/123669205 786112478612590 210442077159
     1550005 o.jpg?dl=0l.

6.   Ballot Harvesting - AZ woman investigated for voter fraud after video shows offering to mail
     ballots [See: https://www.msn .com/en-us/news/crime/arizona-woman-investigated-for-voter-
     fra ud-after-video-s hows-he r-offe ring-to-ma i I-pea p Ie-s-ba Ilots/ a r-B Bla kH IA].

7.   Dead "Voted" - Applies to ALL swing states.
     [See: https://www.thegatewaypundit.com/2020/11/searching-voter-rolls-dead-voters-try-social-
     secu rity-deat h-maste r-fi le/]

     Nos. 8 to 10 - to be supplemented MICHIGAN
1.   Audit Results of Antrim County - 68% error rate of DVS machines. DVS designed to commit
     election fraud [See: video of GA demonstration of DVS machines as evidence of intentional design
     for error rate to easily manipulate ballots in adjudication process] .

2.   Ballot Dump - On (11/04/20), at or around 4 AM the morning after Election Day, multiple
     eyewitnesses observed vans pull up and unload approximately multiple boxes of ballots, totaling
     about 138,000 ballots, all reportedly for Biden (many without down-ballot votes), which were
     placed in the tabulation machines and counted without the requisite attendance of GOP Poll
     Challengers and received AFTER the cutoff period as required by state legislature - 8 PM (or 9 PM
     if include grace period) on Election Day (11/03/20).
     [See Chart: 138,339 Biden Votes Found - No Votes for Trump:
     https://www.dropbox.com/s/gh6wo8kduhu5nw1/123635090 10102264646138494 47979090
     69374599873 n.jpg?dl=0l

3.   #Detroitleaks -Video taken of training by state employee to Poll Workers on how to lie to voters,
     destroy ballots, and stop Poll Challengers, evidence of pre-planned coordinated effort to commit
     voter / election fraud [See FULL VIDEO: https://rumble.com/vaxwob-detroit-leaks-video-was-
     taken-down-from-screwtube.html ]. Publisher of video, reporter Shane Trejo, threated with Cease
     and Desist Order and criminal prosecution by AG Nessel if video was not scrubbed from Internet
     [See: htt ps: //www. thegatewaypu nd it.co m/2020/11/ crazed-vi ci ous-m ic h iga n-ag-th reate ns-
     c rim i na Ily-cha rge-go p-1 awma ke rs-meeti ng-t rump-stole n-e Iect io n/l .
4.   Multiple Ballots with Same Signature - Video of Ml SOS official directing volunteers to count
     "multiple ballots with very same signature" during "audit" of votes in Antrim County, Ml.
     [See: https://www.thegatewaypundit.com/2020/12/mi-sec-state-official-caught-video-telling-
     volunteers-count-multiple-ballots-signature-audit-votes-antrim-county/j

5.   Poll Challenger Exclusion - On (11/04/20), morning after Election Day, atTCF Center (locally a/k/a,
     "Cobo Hall"), GOP and Independent Poll Challengers were prohibited entry by threats, violence
     (some pushed, one GOP Poll Challenger arrested - SHOW video of James Frego arrested while
     Poll Watchers cheered, as posted on Twitter and shown on Hannity) and deception (told
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        maximum reached when only or most Poll Challengers inside were Democrats). The few GOP and
        Independent Poll Challengers inside TCF Center for limited time permitted were not permitted to
        be within 6 feet of ballot counting, in direct violation of recent Ml court case overriding COVID-19
        as excuse, which was known by Poll Workers but trained to ignore.

   6.   Back Dating- Poll Workers, including Jessy Jacob, provided affidavits of supervisor(s) ordering Poll
        Workers to backdate documents on or before Election Day (11/03/20). USPS Whistleblower
        ordered to backdate by Supervisor.
        [Poll Workers - See Videos: https://www.newsmax.com/t/newsmax/article/996212/18 and
        https ://j ustthe news.com/po Iit ics-po Iicy/ e lectio ns/lawsu it-filed-mi ch iga n-a Ileges-e Iect ion-fraud-
        i ncl ud i ng-backdat i ng and https://justthenews.com/politics-policy/elections/detroit-city-worker-
        blows-whistle-claims-ballots-were-ordered-backdated j.
        [USPS- See Video: https://twitter.com/JamesOKeefelll/status/1324174186366074880?s=20l

  7.    Canvasser Threatened - Monica Palmer (GOP Canvasser) and children were threatened by
        Democrats if Palmer and GOP colleague did not certify votes. GOP Canvassers reluctantly certified
        subject to audit by Ml SOS Benson, who later stated not bound to condition to which GOP
        Canvassers filed affidavits of threats.

  8.    Dead "Voted" - [enter amount] dead people "voted," according to witnesses who provided
        affidavits on findings of official government records on Ml SOS website for deceased in Ml as
        correlated to electronic poll books and/or supplemental books [need confirmation of witnesses
        and evidence. One witness with videos is not responding to calls but I have video evidence].
        [See:      https://charliekirk.com/news/graveyard-vote-check-out-the-massive-list-of-joe-bidens-
        dead-su ppo rters-i n-
        m ich iga n/?fbcl id=lwAR3DArBfABWmu ll u lt6feN U3c ITtyPclKxKyvdoiS Hlkps3GtMT8geNzU j

  9.    Same Old Birth Date - January 1, 1900 entered as birth date on a large number of ballots.

   10. Electioneering - On (11/04/20), Poll Workers at TCF Center wore masks stating "Biden / Harris,"
       shirts stating "BLM / Black Lives Matter," an organization directly associated with Democrat Party,
       in direct violation of electioneering rules enacted by state legislature.




GEORGIA

   1.   "Suitcase Gate" - Video of "ballot stuffing" when "suitcases" (container type) filled with ballots
        (approximately 6,000 in each container) were rolled out from under table at GA arena and placed
        in tabulation machines (one batch repeatedly tabulated at least 3 times) by [X number] of poll
        workers who remained AFTER all Poll Watchers (GOP and the like), press and all third parties were
        required to leave the premises per announcement at or about L_ AM] until [_AM] in violation
        of election laws enacted by GA state legislature. Ruby Freeman (woman in purple shirt on video),
        now under arrest and providing evidence against GA SOS Stacey Abrams and DNC on advanced
        coordinated effort to commit voter/ election fraud [need confirmation of arrest and evidence].
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   2.   Dominion Voting Systems - Per analyses of Dr. Shiva, similar or same algorithm likely used in DVS
        machines in GA as in Antrim County, Ml, resulting in fractional votes weighted to favor Biden.

   3.   Pristine Ballots - Per testimony and affidavit of [enter name], [enter amount] of "'returned"
        absentee and/or mail-in ballots were in pristine condition (not folded), all with identical markings
        for Biden (with white speck in same location on all ballots - i.e., apparent copies of same ballot) .

   4.   Poll Challenger Exclusion - On (11/04/20), morning after Election Day, GOP (and possibly
        Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
        counting location and corralled .

   5.   Water Leak - Basis to stop calculation of votes on (11/03/20) for water leak later proved false as
        merely a toilet leak remedied within [enter time] minutes (clear attempt at cover up).

   6.   Dumped Military Ballots - Mail-in ballots by military found in GA dumpster.
        [See Video: https://twitter.com/KimonaQ/status/1324867267927158786?s=20]

   7.   Dead "Voted" - 10,315 dead people "voted, in violation of election laws enacted by GA state
        legislature, per Ray Smith, GA attorney [See: https://djhjmedia.com/rich/trump-lawyer-reads-
        1o ng-1 i st-of-voter-fraud-a 11 egati o ns-i n-geo rgi a-wi II-as k-cou rt-fo r-new-e Iecti on-have-leg isl atu re-
        se Iect-e Iecto rs-video /1

   8.   Felons Voted - 2,506 voted, in violation of election laws enacted by GA state legislature.

   9.   Unregistered Voted - 2,423 unregistered people voted, in violation of election laws enacted by
        GA state legislature.

   10. Underaged Registrations - 66,248 underaged people were registered to vote, in violation of
       election laws enacted by GA state legislature.




PENNSYLVANIA

   1.   Dominion Voting Systems - Per analyses of Dr. Shiva, similar or same algorithm likely used in DVS
        machines in GA as in Antrim County, Ml, resulting in fractional votes weighted to favor Biden.

   2.   PA Constitution Violation - PA state legislature arguably violated own PA Constitution, which
        prohibits mail-in ballots with minor exceptions .

   3.   SCOTUS Violation - PA governmental officials REFUSED to comply with TWO Orders issued by
        Justice Samuel Alita of SCOTUS to segregate ALL ballots received after 8 PM on Election Day
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        (11/03/20), as required by election law enacted by PA state legislature. ALL ballots received after
        this time and date, totaling over [enter number] hundred thousand, are invalid by law.

   4.   Back Dating - USPS Whistleblower adm its supervisor ordered backdate of ballots.
        [See Video: https://twitter.com/ben nyjo h nso n/status/13248505282794 74176?s=20]

   5.   Poll Challenger Exclusion - On (11/04/20), morning after Election Day, GOP (and possibly
        Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
        counting location and/or corralled at great distance where Poll Challengers used binoculars.
        [See Video: https://twitter.com/matthewtyrmand/status/1324786382733254658?s=21].

   6.   Ballots Returned Before Day Mailed - Tens of thousands of ballots were "returned" earlier than
        day ballots were mailed [See: https://www.theepochtimes.com/pennsylvania-100000-ballots-
        with-i m plausible-return-dates 3572942. htm I].

   7. Trump Ballots Tossed - Democrats caught throwing out Trump votes.
      [See: https://thenewamerican.com/voter-fraud-pennsylvania-democrats-caught-throwing-out-
      trump-votes/]

   8.   Statistical Anomalies - S. Stanley Young, PhD, FASA, FAAAS, provided PA County Voting Anomaly
        Analysis, revised   (11/08/20)   [See:   https://thenationalpulse.com/politics/pennsylvania-vote-
        anomalies/1.

   9.   Military Ballots Dumped - Military mail-in ballots were found in PA dumpster, mostly Trump
        votes. [See: https://pj media.com/election/matt-ma rgo lis/2020/09/24/m i lita ry-ba Ilots-found-in-
        the-trash-i n-pen nsylva nia-a 11-were-tru mp-votes-
        n964614 ?fbcl id=lwAR38rN Pj bNxK8odDGWPu7Ku RSrH4h rf gebcL4C22JaslRRPlv3MRsJfD1E ]

   10. Multiple Votes - PA voter admits to voting twice.
       [See: https://www.bitchute.com/video/iCb3m8GGx5Yk/]

See also: https://ifapray.org/blog/voter-fraud-across-the-nation-state-by-state-examples/
See also: https://worldpopulationreview.com/state-rankings/number-of-registered-voters-by-state
